               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:12-00170
                                                 )      Judge Trauger
[5] JAIME BENCOMO-GARCIA                         )
                                                 )

                                         ORDER

       It is hereby ORDERED that the sentencing scheduled for September 3, 2014 at 1:30 p.m.

is RESET for the same day at 1:00 p.m.

       It is so ORDERED.

       ENTER this 26th day of August 2014.


                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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